                                            Case 3:07-cv-05944-JST Document 4458 Filed 03/07/16 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       IN RE: CATHODE RAY TUBE (CRT)                    MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

                                   9                                                        ORDER TO SHOW CAUSE WHY
                                           This Order Relates To:                           FILINGS OF ATTORNEY GEORGE
                                  10                                                        COCHRAN SHOULD NOT BE
                                                                                            STRICKEN
                                  11       ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13             The Court is now in the process of considering the Report and Recommendation (“R&R”)

                                  14   of Special Master Martin Quinn regarding the class action settlements between certain defendants

                                  15   and the Indirect Purchaser Plaintiffs, ECF No. 4351, as well as the objections to that R&R and the

                                  16   responses to those objections.

                                  17             Among the objections is one filed by attorney George Cochran on behalf of objector Josie

                                  18   Saik. ECF No. 4384. Mr. Cochran does not appear to be a member of the bar of the Northern

                                  19   District of California nor, for that matter, a member of the California State Bar.

                                  20             Civil Local Rule 11-1 provides, “Except as provided in Civil L.R. 11-2, 11-3, 11-9 and

                                  21   Fed. R. Civ. P. 45(f), an attorney must be a member of the bar of this Court to practice in this

                                  22   Court and in the Bankruptcy Court of this District.” None of the foregoing exceptions applies

                                  23   here.

                                  24             Accordingly, attorney George Cochran and objector Josie Saik are ORDERED TO SHOW

                                  25   CAUSE why the objection at ECF No. 4384, as well as Mr. Cochran’s Notice of Appearance, ECF

                                  26   No. 4139, should not be STRICKEN from the record of this action. 1 A written response to this

                                  27
                                       1
                                  28    Ms. Saik appears to have filed a previous document on her own behalf, even though she may
                                       have been represented by Mr. Cochran at the time. See ECF No. 4140. It is unclear to the Court
                                         Case 3:07-cv-05944-JST Document 4458 Filed 03/07/16 Page 2 of 2




                                   1   order must be filed by March 8, 2015. The response must not exceed five pages. If no response is

                                   2   filed, the Court will strike the filings in question.

                                   3           IT IS SO ORDERED.

                                   4   Dated: March 7, 2016
                                                                                          ______________________________________
                                   5
                                                                                                        JON S. TIGAR
                                   6                                                              United States District Judge

                                   7

                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22
                                  23

                                  24

                                  25

                                  26   without further research what effect, if any, Local Rule 11-1 might have on this filing, or whether
                                       a filing by someone other than counsel of record was even authorized in the first place. See Jaspar
                                  27   v. Khoury, No. 2:06-CV-1177 GEB KJN, 2011 WL 5118535, at *2 (E.D. Cal. Oct. 27, 2011).
                                       Because the filing at docket number 4140 is not before the Court, it is not necessary for the Court
                                  28   to resolve these complexities.

                                                                                               2
